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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

CARTER PAGE,                                        )
                                                    )
                             Plaintiff,             )
vs.                                                 )      NO. CIV-18-1019-HE
                                                    )
DEMOCRATIC NATIONAL                                 )
COMMITTEE, et al.                                   )
                                                    )
                             Defendants.            )

                                           ORDER

       The court previously dismissed this action without prejudice, due to lack of personal

jurisdiction. Plaintiff moved to alter judgment and the court denied the motion. Plaintiff

has now filed a second motion to reconsider, advancing largely the same theory: that

defendants knew that plaintiff had connections to Oklahoma, and could therefore

reasonably be haled into an Oklahoma court. The evidence presented is not significantly

different from the evidence presented in previous filings and does not warrant alteration of

the judgment. The motion [Doc. # 37] is DENIED.

       Defendants seek recovery of their fees and expenses incurred in responding to this

second motion to reconsider. In light of plaintiff’s pro se status, the court declines to shift

the referenced costs, but plaintiff is cautioned that further filings will have that result.

       IT IS SO ORDERED.

       Dated this 25th day of April, 2019.
